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January 20, 2021                                                   T 302.298.3523
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VIA E-FILE
The Honorable Maryellen Noreika
U.S. District Court for the District of Delaware
844 N. King Street
Wilmington, DE 19801


       Re:     Consumer Financial Protection Bureau v. The National Collegiate Master
               Student Loan Trust, et al., C.A. No. 17-cv-1323 (MN)


Dear Judge Noreika:

       We respectfully submit this letter on behalf of Transworld Systems, Inc. (“TSI”) to confirm

that TSI intends to present argument on its Motion to Dismiss (D.I. 242, 243, 323) at the telephonic

oral argument scheduled for January 26, 2021 at 1 p.m. EST. Allyson Baker of Venable LLP will

address all issues raised in TSI’s Motion to Dismiss.

       If Your Honor has any questions, we are available at the convenience of the Court.



                                              Respectfully submitted,


                                              By: /s/ Daniel A. O’Brien      _
                                                  Daniel A. O’Brien (No. 4897)



cc:    All counsel of record (via ECF)
